

People v Meek (2020 NY Slip Op 00800)





People v Meek


2020 NY Slip Op 00800


Decided on January 31, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on January 31, 2020

PRESENT: SMITH, J.P., CARNI, LINDLEY, TROUTMAN, AND BANNISTER, JJ. (Filed Jan. 31, 2020.) 


MOTION NO. (1088/11) KA 08-01131.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vJONATHAN J. MEEK, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








